Case 8:10-cr-00139-JSM-TGW Document 57 Filed 01/04/11 Page 1 of 6 PageID 130
Case 8:10-cr-00139-JSM-TGW Document 57 Filed 01/04/11 Page 2 of 6 PageID 131
Case 8:10-cr-00139-JSM-TGW Document 57 Filed 01/04/11 Page 3 of 6 PageID 132
Case 8:10-cr-00139-JSM-TGW Document 57 Filed 01/04/11 Page 4 of 6 PageID 133
Case 8:10-cr-00139-JSM-TGW Document 57 Filed 01/04/11 Page 5 of 6 PageID 134
Case 8:10-cr-00139-JSM-TGW Document 57 Filed 01/04/11 Page 6 of 6 PageID 135
